                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 BROCK FREDIN,
                                               Case No. 17-CV-3058
                      Plaintiff,

       --against--

 LINDSEY MIDDLECAMP,


                      Defendant.




 BROCK FREDIN,
                                               Case No. 18-CV-466
                      Plaintiff,

       --against--

 GRACE MILLER,
 CATHERINE SCHAEFER,


                      Defendants.


                     SEALED DECLARATION OF BROCK FREDIN

STATE OF WISCONSIN                  }
                                    ss:
COUNTY OF SAINT CROIX               }

      BROCK FREDIN, being duly sworn, deposes and says:

      1.     I am the Plaintiff in the above-captioned proceeding.        I submit this

declaration in support of my May 10, 2020 response. For the reasons stated herein and

within my response dated May 10, 2020, a fee award should be denied in its entirety.




                                           1
                        AUTHENTICATION OF DOCUMENTS

       2.      Attached hereto as Exhibit A is a true and correct copy of my 2019 federal income

tax return adjusted gross income.

       3.      Attached hereto as Exhibit B is a true and correct copy of my 2018 federal income

tax return adjusted gross income.

       4.      Attached hereto as Exhibit C is a true and correct copy of my 2017 federal income

tax return adjusted gross income.

       5.      Attached hereto as Exhibit D is a true and correct copy of a text message with my

older brother Ryan Douglas Fredin seeking a breakdown of my mother’s funeral expenses.

       6.      Attached hereto as Exhibit E is a true and correct copy of a credit report from

Credit Karma indicating my student loan or credit debts.

       7.      Attached hereto as Exhibit F is a true and correct copy of a March 7, 2020 adverse

FCRA letter emailed to me on May 8, 2020.

       8.      Attached hereto as Exhibit G is a true and correct copy of related employment

emails seeking clarity on my pending termination.

       9.      Attached hereto as Exhibit H is a true and correct copy of Defendants continued

Twitter/Internet stalking campaign to destroy my career.

       10.     Attached hereto as Exhibit I is a true and correct copy of my DNA matches and

ethnicity as proof of my sister’s obligations and my disproportionate expense.

                                       Student Loan Debt

       11.     Upon information and belief, I still owe between $50,000 to $60,000 in student

loans to the State of Minnesota or federal government. This is attached as Exhibit E.

                                        Credit Card Debt




                                                2
       12.     Upon information and belief, I owe about $12,000 in revolving credit card debt.

This is attached as Exhibit E.

                                             Income

       13.     Given my past tax returns, I actually averaged less than 8k per year between 2017

and 2019. This is attached as Exhibit A-C.

                                          Employment

       14.     In April and May 2020, I received written notice that I either am or will be

terminated from employment yet again given Defendants actions as a result of a failed HireRight

background check (and not my work performance). I work for a consulting firm which has been

unable to place me on a client project based on Defendants actions to destroy my livelihood. To

be completely clear, I have not been terminated yet but have reached out to a human resources

representative for clarity. This notice and related emails are attached as Exhibit F-G.

                                               Car

       15.     My car is barely functioning. Although it still drives, it requires a $1200-1500

repair fix and another $1500 suggested fix. The estimate was professionally completed by Uptown

Imports in Minneapolis, MN in January 2020.

                                           Other Debts

       16.     I owe my brother Ryan Douglas Fredin about $7000 related to Defendants actions

to falsely imprison me and destroy my professional livelihood. It appears I owe him 3,000 for my

portion of expenses related to my mother’s funeral, the cost of first trying to keep her dog alive

and subsequently putting her dog down after an infection (because my mother could not afford vet

bills to originally treat the infection), storage fees, or other related fees. It bears noting, my

mother’s daughter, Faith Amdahl, an attorney, who is at least a millionaire and likely a multi-




                                                3
millionaire, has refused to pay a dime towards her own mother’s funeral so as to disproportionately

financially impact my brother Ryan and me. This is attached as Exhibit D AND I.

                            Defendants Continued Doxing Campaign

       17.     Catherine Schaefer did indeed report usernames contained in discovery. I have

only sought protection from Defendants stalking and felony actions.

       18.     In October 2019, I was made aware that Lindsey Middlecamp’s husband, David

Middlecamp, had directed his friend, Tony Webster, to start a new Twitter campaign against me

based on Defendants original conduct. It bears noting that Tony Webster regularly draws

thousands of re-tweets. This evidence is attached as Exhibit H.

       19.     On May 9, 2020 I did an Internet search for my name Brock Fredin and found yet

more new nasty comments from Defendants about me online used to continue to destroy my ability

to maintain a career. This evidence is attached as Exhibit H.




Dated: May 11, 2020
Saint Croix County, WI




                                                     s/ Brock Fredin
                                                     Brock Fredin
                                                     Saint Croix County, WI
                                                     (612) 424-5512 (tel.)
                                                     brockfredinlegal@icloud.com
                                                     Plaintiff, pro se




                                                4
A
        1040 U.S. Individual Income Tax Return 2019
 Form                      Department of the Treasury—Internal Revenue Service                   (99)
                                                                                                                                      OMB No. 1545-0074              IRS Use Only—Do not write or staple in this space.

 Filing Status                     Single         Married filing jointly           Married filing separately (MFS)                   Head of household (HOH)                   Qualifying widow(er) (QW)
 Check only               If you checked the MFS box, enter the name of spouse. If you checked the HOH or QW box, enter the child’s name if the qualifying person is
 one box.
                          a child but not your dependent. a
   Your first name and middle initial                                               Last name                                                                                           Your social security number
        brock                                                                          fredin                                                                                            XXX-XX-XXXX
   If joint return, spouse’s first name and middle initial                          Last name                                                                                           Spouse’s social security number


   Home address (number and street). If you have a P.O. box, see instructions.                                                                                    Apt. no.               Presidential Election Campaign
                                                                                                                                                                                        Check here if you, or your spouse if filing
        1180 7th Ave
                                                                                                                                                                                        jointly, want $3 to go to this fund.
   City, town or post office, state, and ZIP code. If you have a foreign address, also complete spaces below (see instructions).                                                        Checking a box below will not change your
        Baldwin WI 54002-9369                                                                                                                                                           tax or refund.         You        Spouse
   Foreign country name                                                                      Foreign province/state/county                                Foreign postal code            If more than four dependents,
                                                                                                                                                                                         see instructions and  here a

 Standard                 Someone can claim:                You as a dependent                   Your spouse as a dependent
 Deduction                         Spouse itemizes on a separate return or you were a dual-status alien

 Age/Blindness            You:              Were born before January 2, 1955                Are blind           Spouse:              Was born before January 2, 1955                         Is blind
 Dependents (see instructions):                                                         (2) Social security number              (3) Relationship to you                     (4)  if qualifies for (see instructions):
   (1) First name                                      Last name                                                                                                         Child tax credit          Credit for other dependents




                           1         Wages, salaries, tips, etc. Attach Form(s) W-2 .             .     .   .     .   .   .      .     .   .   .    .     .   .      .     .    .   .           1               32,631.
                           2a        Tax-exempt interest .      .    .     .       2a                                         b Taxable interest. Attach Sch. B if required                    2b
                           3a        Qualified dividends .      .    .     .       3a                                         b Ordinary dividends. Attach Sch. B if required                  3b
Standard
Deduction for—             4a        IRA distributions .    .   .    .     .       4a                                         b Taxable amount            .   .      .     .    .   .          4b
• Single or Married
  filing separately,
                               c     Pensions and annuities .        .     .       4c                                         d Taxable amount            .   .      .     .    .   .          4d
  $12,200                  5a        Social security benefits .      .     .       5a                                         b Taxable amount            .   .      .     .    .   .          5b
• Married filing
  jointly or Qualifying    6         Capital gain or (loss). Attach Schedule D if required. If not required, check here                    .   .    .     .   .      .     .   a                6               -3,000.
  widow(er),               7a        Other income from Schedule 1, line 9          .    .    .    .     .   .     .   .   .      .     .   .   .    .     .   .      .     .    .   .          7a               -2,728.
  $24,400
• Head of                      b     Add lines 1, 2b, 3b, 4b, 4d, 5b, 6, and 7a. This is your total income                .      .     .   .   .    .     .   .      .     .    .   a          7b               26,903.
  household,                                                                                                                                                                                                       255.
  $18,350
                           8a        Adjustments to income from Schedule 1, line 22               .     .   .     .   .   .      .     .   .   .    .     .   .      .     .    .   .          8a
• If you checked               b     Subtract line 8a from line 7b. This is your adjusted gross income                    .      .     .   .   .    .     .   .      .     .    .   a          8b               26,648.
  any box under
  Standard                 9         Standard deduction or itemized deductions (from Schedule A) .                        .      .     .   .        9                    12,200.
  Deduction,              10         Qualified business income deduction. Attach Form 8995 or Form 8995-A .                            .   .       10                         0.
  see instructions.
                          11a        Add lines 9 and 10 .       .    .     .   .   .    .    .    .     .   .     .   .   .      .     .   .   .    .     .   .      .     .    .   .          11a              12,200.
                               b     Taxable income. Subtract line 11a from line 8b. If zero or less, enter -0-                  .     .   .   .    .     .   .      .     .    .   .         11b               14,448.
 For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                                                                                Form   1040 (2019)
B
Form
       1040 U.S. Individual Income Tax Return 2018
                           Department of the Treasury—Internal Revenue Service                        (99)
                                                                                                                                              OMB No. 1545-0074             IRS Use Only—Do not write or staple in this space.

  Filing status:                  Single         Married filing jointly             Married filing separately                 Head of household                 Qualifying widow(er)
  Your first name and initial                                                            Last name                                                                                                 Your social security number
       brock                                                                             fredin                                                                                                    XXX-XX-XXXX
  Your standard deduction:                     Someone can claim you as a dependent                              You were born before January 2, 1954                                 You are blind
  If joint return, spouse's first name and initial                                       Last name                                                                                                 Spouse’s social security number


  Spouse standard deduction:                Someone can claim your spouse as a dependent                                  Spouse was born before January 2, 1954                                        Full-year health care coverage
        Spouse is blind                     Spouse itemizes on a separate return or you were dual-status alien                                                                                          or exempt (see inst.)

  Home address (number and street). If you have a P.O. box, see instructions.                                                                                              Apt. no.                Presidential Election Campaign
                                                                                                                                                                                                   (see inst.)
       1180 7th ave                                                                                                                                                                                                   You    Spouse
  City, town or post office, state, and ZIP code. If you have a foreign address, attach Schedule 6.                                                                                                If more than four dependents,
       baldwin WI 54002                                                                                                                                                                            see inst. and  here a
  Dependents (see instructions):                                                              (2) Social security number                (3) Relationship to you                         (4)  if qualifies for (see inst.):
  (1) First name                                             Last name                                                                                                          Child tax credit          Credit for other dependents




Sign                  Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true,
                      correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here                           Your signature                                                           Date                      Your occupation                                                If the IRS sent you an Identity Protection
                     F




Joint return?                                                                                                                                                                                    PIN, enter it
See instructions.
                                                                                                                                  software developer                                             here (see inst.)
Keep a copy for                Spouse’s signature. If a joint return, both must sign.                   Date                      Spouse’s occupation                                            If the IRS sent you an Identity Protection
your records.                                                                                                                                                                                    PIN, enter it
                                                                                                                                                                                                 here (see inst.)
                               Preparer’s name                                Preparer’s signature                                                          PTIN                              Firm’s EIN          Check if:
Paid                                                                                                                                                                                                                   3rd Party Designee
Preparer                                                                                                                                                                                                               Self-employed
Use Only                       Firm’s name      a         Self-Prepared                                                                                     Phone no.
                               Firm’s address a
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                                                                                            Form   1040 (2018)

Form 1040 (2018)                                                                                                                                                                                                             Page 2
                           1        Wages, salaries, tips, etc. Attach Form(s) W-2 .                   .     .    .   .       .     .   PRI
                                                                                                                                         . . 5.
                                                                                                                                              .         .   .     .   .     .     .               1                      12,490.
                           2a       Tax-exempt interest .        .    .             2a                                                       b Taxable interest       .     .     .              2b
Attach Form(s)
W-2. Also attach           3a       Qualified dividends .        .    .             3a                                                       b Ordinary dividends           .     .              3b
Form(s) W-2G and
1099-R if tax was          4a       IRAs, pensions, and annuities .                 4a                                                       b Taxable amount         .     .     .              4b
withheld.                  5a       Social security benefits     .    .             5a                                                       b Taxable amount         .     .     .              5b
                           6        Total income. Add lines 1 through 5. Add any amount from Schedule 1, line 22 -8,826. . . . . .                                                                6                           3,664.
                           7        Adjusted gross income. If you have no adjustments to income, enter the amount from line 6; otherwise,
Standard                            subtract Schedule 1, line 36, from line 6       . . . . . . . . . . . . . . . . .                                                                             7                       2,964.
Deduction for—             8        Standard deduction or itemized deductions (from Schedule A) .                             .     .    .     .    .   .   .     .   .     .     .               8                      12,000.
• Single or married
  filing separately,       9        Qualified business income deduction (see instructions) .                      .   .       .     .    .     .    .   .   .     .   .     .     .               9                           0.
  $12,000                                                                                                                                                                                                                     0.
                          10        Taxable income. Subtract lines 8 and 9 from line 7. If zero or less, enter -0-                             .    .   .   .     .   .     .     .              10
• Married filing
  jointly or Qualifying   11        a Tax (see inst.)          0.    (check if any from: 1                 Form(s) 8814       2         Form 4972       3                                 )
  widow(er),
  $24,000                           b Add any amount from Schedule 2 and check here                          .    .   .       .     .    .     .    .   .   .     .   .     a                    11                                 0.
• Head of                 12        a Child tax credit/credit for other dependents                               b Add any amount from Schedule 3 and check here a                               12
  household,
  $18,000                 13        Subtract line 12 from line 11. If zero or less, enter -0-                .    .   .       .     .    .     .    .   .   .     .   .     .     .              13                                0.
• If you checked          14        Other taxes. Attach Schedule 4 .            .        .   .    .    .     .    .   .       .     .    .     .    .   .   .     .   .     .     .              14                                0.
  any box under
  Standard                15        Total tax. Add lines 13 and 14        .     .        .   .    .    .     .    .   .       .     .    .     .    .   .   .     .   .     .     .              15                                0.
  deduction,
  see instructions.       16        Federal income tax withheld from Forms W-2 and 1099                           .   .       .     .    .     .    .   .   .     .   .     .     .              16                              800.
                          17        Refundable credits: a EIC (see inst.)                    511.       b Sch. 8812                                 c Form 8863
                                    Add any amount from Schedule 5                                           .    .   .       .     .    .     .    .   .   .     .   .     .     .              17                             511.
                          18        Add lines 16 and 17. These are your total payments                       .    .   .       .     .    .     .    .   .   .     .   .     .     .              18                           1,311.
Refund                    19        If line 18 is more than line 15, subtract line 15 from line 18. This is the amount you overpaid .                                 .     .     .              19                           1,311.
                          20a       Amount of line 19 you want refunded to you. If Form 8888 is attached, check here                                    .   .     .   .     a                    20a                          1,311.
Direct deposit?           a   b     Routing number             0 9 1 8 1 8 2 5 6                                          a   c Type:              Checking               Savings
See instructions.
                          a   d     Account number             1 1 1 0 5 6 0
                          21        Amount of line 19 you want applied to your 2019 estimated tax .                           .    a         21
Amount You Owe 22                   Amount you owe. Subtract line 18 from line 15. For details on how to pay, see instructions                                    .   .     .         a          22
                          23        Estimated tax penalty (see instructions) .               .    .    .     .    .   .       .    a         23
Go to www.irs.gov/Form1040 for instructions and the latest information.                                                                                         BAA                    REV 04/22/19 Intuit.cg.cfp.sp   Form   1040 (2018)
SCHEDULE 1                                                                                                                      OMB No. 1545-0074
                                     Additional Income and Adjustments to Income
                                                                                                                                  2018
(Form 1040)
                                                               a Attach to Form 1040.
Department of the Treasury                                                                                                      Attachment
Internal Revenue Service
                                      a Go   to www.irs.gov/Form1040 for instructions and the latest information.               Sequence No. 01
Name(s) shown on Form 1040                                                                                              Your social security number
 brock fredin                                                                                                            XXX-XX-XXXX
Additional           1–9b    Reserved . . . . . . . . . . . . . . . . . . . . . . . . 1–9b
                      10     Taxable refunds, credits, or offsets of state and local income taxes . . . . .              10
Income
                      11     Alimony received . . . . . . . . . . . . . . . . . . . . . .                                11
                      12     Business income or (loss). Attach Schedule C or C-EZ . . . . . . . . .                      12             -5,826.
                      13     Capital gain or (loss). Attach Schedule D if required. If not required, check here a        13             -3,000.
                      14     Other gains or (losses). Attach Form 4797 . . . . . . . . . . . . . .                       14
                      15a    Reserved . . . . . . . . . . . . . . . . . . . . . . . . 15b
                      16a    Reserved . . . . . . . . . . . . . . . . . . . . . . . . 16b
                      17     Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E 17
                      18     Farm income or (loss). Attach Schedule F . . . . . . . . . . . . . .                        18
                      19     Unemployment compensation . . . . . . . . . . . . . . . . .                                 19
                      20a    Reserved . . . . . . . . . . . . . . . . . . . . . . . . 20b
                      21     Other income. List type and amount a                                                        21
                      22     Combine the amounts in the far right column. If you don’t have any adjustments to
                             income, enter here and include on Form 1040, line 6. Otherwise, go to line 23 . .           22             -8,826.
Adjustments           23     Educator expenses . . . . . . . . . . . .                           23
to Income             24     Certain business expenses of reservists, performing artists,
                             and fee-basis government officials. Attach Form 2106 . .            24
                      25     Health savings account deduction. Attach Form 8889 .                25
                      26     Moving expenses for members of the Armed Forces.
                             Attach Form 3903         . . . . . . . . . . . .                    26
                      27     Deductible part of self-employment tax. Attach Schedule SE          27
                      28     Self-employed SEP, SIMPLE, and qualified plans . .                  28
                      29     Self-employed health insurance deduction . . . .                    29
                      30     Penalty on early withdrawal of savings . . . . . .                  30
                      31a    Alimony paid b Recipient’s SSN a                                   31a
                      32     IRA deduction . . . . . . . . . . . . . .                           32
                      33     Student loan interest deduction . . . . . . . .                     33                700.
                      34     Reserved . . . . . . . . . . . . . . .                              34
                      35     Reserved . . . . . . . . . . . . . . .                              35
                      36     Add lines 23 through 35         . . . . . . . . . . . . . . . . . . .                       36                 700.
For Paperwork Reduction Act Notice, see your tax return instructions.                                                     Schedule 1 (Form 1040) 2018
                                                                                        REV 12/21/18 Intuit.cg.cfp.sp
SCHEDULE C                                                Profit or Loss From Business                                                                                         OMB No. 1545-0074
(Form 1040)
Department of the Treasury
                                                a Go
                                                                      (Sole Proprietorship)
                                                  to www.irs.gov/ScheduleC for instructions and the latest information.                                                            2018
                                                                                                                                                                               Attachment
Internal Revenue Service (99)           a Attach to Form 1040, 1040NR, or 1041; partnerships generally must file Form 1065.                                                    Sequence No. 09
Name of proprietor                                                                                                                                       Social security number (SSN)
 brock fredin                                                                                                                                             XXX-XX-XXXX
A         Principal business or profession, including product or service (see instructions)                                                              B Enter code from instructions
          software development                                                                                                                                        a    5 4 1 5 1 0
C         Business name. If no separate business name, leave blank.                                                                                      D Employer ID number (EIN) (see instr.)
          superuser                                                                                                                                      4 6 4 6 0 5 3 2 7
E         Business address (including suite or room no.)      a   1180 7th ave
          City, town or post office, state, and ZIP code          baldwin, WI 54002
F         Accounting method:       (1)      Cash      (2)     Accrual      (3)     Other (specify) a
G         Did you “materially participate” in the operation of this business during 2018? If “No,” see instructions for limit on losses                                        .     Yes         No
H         If you started or acquired this business during 2018, check here . . . . . . . . . . . . . . . . .                                                                   a

I         Did you make any payments in 2018 that would require you to file Form(s) 1099? (see instructions) .                                    .   .    .       .   .    .   .     Yes         No
J         If “Yes,” did you or will you file required Forms 1099? . . . . . . . . . . . . . .                                                    .   .    .       .   .    .   .     Yes         No
    Part I    Income
     1    Gross receipts or sales. See instructions for line 1 and check the box if this income was reported to you on
          Form W-2 and the “Statutory employee” box on that form was checked . . . . . . . . . a                                                              1                        13,000.
     2    Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            2
     3    Subtract line 2 from line 1 . . . . . . . . . . . . . . . . . . . . . . . .                                                                         3                        13,000.
     4    Cost of goods sold (from line 42) . . . . . . . . . . . . . . . . . . . . . .                                                                       4
     5    Gross profit. Subtract line 4 from line 3 . . . . . . . . . . . . . . . . .                                                   .        .   .        5                        13,000.
     6    Other income, including federal and state gasoline or fuel tax credit or refund (see instructions) .                          .        .   .        6
     7    Gross income. Add lines 5 and 6 . . . . . . . . . . . . . . . . . . .                                                         .        .   a        7                        13,000.
 Part II      Expenses. Enter expenses for business use of your home only on line 30.
     8    Advertising .         .   .   .   .      8                                18       Office expense (see instructions)                                18
     9    Car and truck expenses (see                                               19       Pension and profit-sharing plans .                               19
          instructions) . . . . .                  9                                20       Rent or lease (see instructions):
    10    Commissions and fees .                   10                                    a   Vehicles, machinery, and equipment                            20a
    11    Contract labor (see instructions)        11                                    b   Other business property . . .                                 20b
    12    Depletion . . . . .                      12                               21       Repairs and maintenance . . .                                    21
    13    Depreciation and section 179                                              22       Supplies (not included in Part III) .                            22                            400.
          expense      deduction   (not
          included in Part III) (see                                                23       Taxes and licenses . . . . .                                     23
          instructions) . . . . .                  13                  4,126.       24       Travel and meals:
    14    Employee benefit programs                                                      a   Travel . . . .               .      .      .        .   .     24a
          (other than on line 19) . .              14                                    b   Deductible meals (see
    15    Insurance (other than health)            15                                        instructions) . . . . . . .                                   24b
    16    Interest (see instructions):                                              25       Utilities . . . . . . . .                                      25                           1,300.
      a   Mortgage (paid to banks, etc.)          16a                               26       Wages (less employment credits) .                              26                           6,000.
      b   Other . . . . . .           16b                                27a Other expenses (from line 48) .                                         .     27a                             500.
    17    Legal and professional services
                                       17                    6,500.        b Reserved for future use . .                                             .     27b
    28    Total expenses before expenses for business use of home. Add lines 8 through 27a . . . . . .                                               a      28                         18,826.
    29    Tentative profit or (loss). Subtract line 28 from line 7 .    .   .   .   .    .   .   .   .   .   .      .     .      .      .        .   .        29                       -5,826.
    30    Expenses for business use of your home. Do not report these expenses elsewhere. Attach Form 8829
          unless using the simplified method (see instructions).
          Simplified method filers only: enter the total square footage of: (a) your home:          1400
          and (b) the part of your home used for business:                                           130     . Use the Simplified
          Method Worksheet in the instructions to figure the amount to enter on line 30              .   .    . . . . . . .                                   30                                 0.
    31    Net profit or (loss). Subtract line 30 from line 29.
          • If a profit, enter on both Schedule 1 (Form 1040), line 12 (or Form 1040NR, line 13) and on Schedule SE,
          line 2. (If you checked the box on line 1, see instructions). Estates and trusts, enter on Form 1041, line 3.
          • If a loss, you must go to line 32.
                                                                                                                                             }                31                       -5,826.




                                                                                                                                             }
    32    If you have a loss, check the box that describes your investment in this activity (see instructions).
          • If you checked 32a, enter the loss on both Schedule 1 (Form 1040), line 12 (or Form 1040NR,
          line 13) and on Schedule SE, line 2. (If you checked the box on line 1, see the line 31 instructions).                                           32a            All investment is at risk.
          Estates and trusts, enter on Form 1041, line 3.                                                                                                  32b            Some investment is not
                                                                                                                                                                          at risk.
          • If you checked 32b, you must attach Form 6198. Your loss may be limited.
For Paperwork Reduction Act Notice, see the separate instructions.                       BAA                     REV 12/21/18 Intuit.cg.cfp.sp                        Schedule C (Form 1040) 2018
C
 Form
        1040              Department of the Treasury—Internal Revenue Service

                          U.S. Individual Income Tax Return
                                                                                              (99)
                                                                                                         2017                       OMB No. 1545-0074                 IRS Use Only—Do not write or staple in this space.

 For the year Jan. 1–Dec. 31, 2017, or other tax year beginning                                               , 2017, ending                                    , 20                      See separate instructions.
 Your first name and initial                                           Last name                                                                                                          Your social security number

   brock                                                               fredin                                                                                                               XXX-XX-XXXX
 If a joint return, spouse’s first name and initial                    Last name                                                                                                          Spouse’s social security number


 Home address (number and street). If you have a P.O. box, see instructions.                                                                                      Apt. no.                      Make sure the SSN(s) above
                                                                                                                                                                                       c
                                                                                                                                                                                                 and on line 6c are correct.
   PO BOX 841
 City, town or post office, state, and ZIP code. If you have a foreign address, also complete spaces below (see instructions).                                                              Presidential Election Campaign
    Hudson WI 54016                                                                                                                                                       Check here if you, or your spouse if filing
                                                                                                                                                                          jointly, want $3 to go to this fund. Checking
 Foreign country name                                                                Foreign province/state/county                                    Foreign postal code
                                                                                                                                                                          a box below will not change your tax or
                                                                                                                                                                          refund.                 You          Spouse

                             1        Single                                                                               4              Head of household (with qualifying person). (See instructions.)
Filing Status
                             2        Married filing jointly (even if only one had income)                                                If the qualifying person is a child but not your dependent, enter this
Check only one               3        Married filing separately. Enter spouse’s SSN above                                                 child’s name here. a
box.                                  and full name here. a                                                                5              Qualifying widow(er) (see instructions)

Exemptions                   6a
                              b
                                          Yourself. If someone can claim you as a dependent, do not check box 6a .
                                       Spouse   .           .      .     .   .   .    .   .      .   .    .     .     .    .    .     .      .    .    .    .
                                                                                                                                                                  .
                                                                                                                                                                  .
                                                                                                                                                                         .
                                                                                                                                                                         .
                                                                                                                                                                               .
                                                                                                                                                                               .
                                                                                                                                                                                      .
                                                                                                                                                                                      .
                                                                                                                                                                                            }    Boxes checked
                                                                                                                                                                                                 on 6a and 6b
                                                                                                                                                                                                 No. of children
                                                                                                                                                                                                                         1
                               c    Dependents:                                     (2) Dependent’s                   (3) Dependent’s            (4)  if child under age 17                     on 6c who:
                                                                                 social security number             relationship to you          qualifying for child tax credit                 • lived with you
                         (1) First name                Last name                                                                                       (see instructions)                        • did not live with
                                                                                                                                                                                                 you due to divorce
                                                                                                                                                                                                 or separation
If more than four                                                                                                                                                                                (see instructions)
dependents, see                                                                                                                                                                                  Dependents on 6c
instructions and                                                                                                                                                                                 not entered above
check here a                                                                                                                                                                                     Add numbers on
                               d    Total number of exemptions claimed                    .      .   .    .     .     .    .    .     .      .    .    .    .     .      .     .      .          lines above a
                                                                                                                                                                                                                         1
                             7      Wages, salaries, tips, etc. Attach Form(s) W-2                        .     .     .    .    .     .      .    .    .    .     .      .             7
Income
                             8a     Taxable interest. Attach Schedule B if required .                           .     .    .  .       .      .    .    .    .     .      .            8a
                              b     Tax-exempt interest. Do not include on line 8a .                            .     .     8b
Attach Form(s)
                             9a     Ordinary dividends. Attach Schedule B if required                           .     .    . .        .      .    .    .    .     .      .            9a
W-2 here. Also
attach Forms                   b    Qualified dividends . . . . . . . . . . .                     9b
W-2G and                   10       Taxable refunds, credits, or offsets of state and local income taxes                                     .    .    .    .     .      .            10
1099-R if tax              11       Alimony received . . . . . . . . . . . . . . .                                                           .    .    .    .     .      .            11
was withheld.
                           12       Business income or (loss). Attach Schedule C or C-EZ . . . . . . . . .                                                               .            12                      -5,802.
                           13       Capital gain or (loss). Attach Schedule D if required. If not required, check here a                                                              13                      -3,000.
If you did not             14       Other gains or (losses). Attach Form 4797 . . . . . . . . . . . . .                                                                  .            14
get a W-2,
see instructions.          15a      IRA distributions .         15a                               b Taxable amount     . . .                                                        15b
                           16a      Pensions and annuities 16a                                    b Taxable amount     . . .                                                        16b                         6,804.
                           17       Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E                                                      17
                           18       Farm income or (loss). Attach Schedule F .                       .    .     .     .   . . . . . .                       .     .      .           18
                           19       Unemployment compensation . . . .                                .    .     .     .   . . . . . .                       .     .      .           19
                           20a      Social security benefits 20a                                                          b Taxable amount                  .     .      .          20b
                           21       Other income. List type and amount                                                                                                                21
                           22       Combine the amounts in the far right column for lines 7 through 21. This is your total income                                      a              22                      -1,998.
                           23       Educator expenses              .     .   .   .    .   .      .   .    .     .     .        23
Adjusted                   24       Certain business expenses of reservists, performing artists, and
Gross                               fee-basis government officials. Attach Form 2106 or 2106-EZ                                24
Income                     25       Health savings account deduction. Attach Form 8889                                .        25
                           26       Moving expenses. Attach Form 3903 . . . . . .                                              26
                           27       Deductible part of self-employment tax. Attach Schedule SE .                               27
                           28       Self-employed SEP, SIMPLE, and qualified plans           . .                               28
                           29       Self-employed health insurance deduction                         .    .     .     .     29
                           30       Penalty on early withdrawal of savings . .                       .    .     .     .     30
                           31a      Alimony paid b Recipient’s SSN a                                                       31a
                           32       IRA deduction . . . . . . .                           .      .   .    .     .     .        32
                           33       Student loan interest deduction . .                   .      .   .    .     .     .        33                                400.
                           34       Tuition and fees. Attach Form 8917                    .      .   .    .     .     .        34
                           35       Domestic production activities deduction. Attach Form 8903   35
                           36       Add lines 23 through 35 . . . . . . . . . . . . .                                                        .    .    .    .     .      .            36                         400.
                           37       Subtract line 36 from line 22. This is your adjusted gross income                                        .    .    .    .     .      a            37                     -2,398.
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions. BAA                                                             REV 02/22/18 Intuit.cg.cfp.sp                Form 1040 (2017)
D
E
F
                                                                                   211 Quality Circle
                                                                                   College Station, TX 77845
                                                                                   Phone (979) 691-7700
                                                                                   Fax (979) 691-7750
                                                                                   www.cognizant.com



March 07, 2020

Brock Fredin
1180 7th Avenue
Baldwin, WI 54002


Dear Brock Fredin:
As part of our staffing process, we require that a consumer report be obtained before staffing commences
for any associate being considered for the position for which you applied. You previously should have
received a copy of your consumer report and summary of your rights under the federal Fair Credit Reporting
Act.

This is to advise you that we are unable to staff you to the project or assignment for which you were under
consideration. In evaluating your application, the consumer-reporting agency listed below provided us with
the information, which, in whole or in part, influenced our employment decision. This consumer reporting
agency played no part in our decision other than providing the information about you, and the agency will
not be able to provide you with specific reasons for our denial.

Under the Fair Credit Reporting Act, you are entitled to disclosure of the information contained in your
consumer report by contacting the consumer reporting agency directly, within sixty (60) days of this letter.
You also have the right to dispute the completeness or accuracy of the report. The name, address and
telephone number of the consumer reporting agency appears below.

The letter is provided to you in compliance with the federal Fair Credit Reporting Act.

Sincerely,

Yegna

Human Resource


Name of Consumer Reporting Agency:
HireRight, Inc.
3349 Michelson Dr. Suite 150
Irvine, CA 92617
Phone: 866-521-6995, 949-428-5804
Fax: 877-797-3442, 949-224-6020
E-mail: customerservice@hireright.
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